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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION
                                         CHICAGO


    MICHAEL MCNULTY,                       )
                                           )                 Case No. 1:19-cv-7496-JZL
             Plaintiff,                    )
                                           )
             v.                            )
                                           )
    INTERNAL REVENUE SERVICE,              )
                                           )
             Defendant.                    )
    _______________________________________)

           DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS

         The Service submits that there exists no genuine issues as to the material facts set forth in

the numbered paragraphs below. These material facts are conclusively established by the

uncontested paragraphs of Mr. McNulty’s amended complaint, the attached exhibits to Mr.

McNulty’s amended complaint, and the declaration of Chief Counsel Law Clerk1 Robert Bley

(Bley Decl.), which the Service submits in support of this motion. The following facts are

undisputed:

      1. Plaintiff, Michael McNulty, is a resident of Illinois and holds a valid durable power of

         attorney for his father, William B. McNulty, Jr. ECF No. 11 at 2, Pl.’s Amended

         Complaint at ¶ 3.

      2. Defendant, Internal Revenue Service (the Service), is an agency of the United States

         Government.




1
 Mr. Bley is a licensed attorney admitted to the State Bar of Virginia. His current title at the Service,
however, is “law clerk,” as the Service has not fully processed his paperwork to convert his title to
“attorney.” Bley Decl. at ¶ 1, n. 1.
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3. Mr. McNulty brought this action under the Freedom of Information Act (FOIA), 5 U.S.C.

   § 552, and the Privacy Act of 1974, 5 U.S.C. § 552a, regarding a FOIA request he

   submitted with the Service on February 27, 2019. ECF No. 11 at 1–3, Pl.’s Amended

   Complaint at ¶¶ 2 and 9.

4. In the FOIA request he submitted on February 27, 2019, Mr. McNulty requested three

   categories of records for tax years 2005 through 2018: (1) All notes of correspondence

   between Michael C. McNulty, William B. McNulty Jr., and James Malone; (2) all notes

   of correspondence between Curtiss Ross and the Service; and (3) all notes of

   correspondence having anything to do with William B. McNulty for the requested tax

   years. ECF No. 11 at 7, Exhibit A to Pl.’s Amended Complaint.

5. The Service assigned Mr. McNulty’s FOIA request a case number: F19059-002. ECF

   No. 11 at 11, Exhibit C to Pl.’s Amended Complaint.

6. The Service responded to Mr. McNulty’s FOIA Request on June 4, 2019. ECF No. 11 at

   11, Exhibit C to Pl.’s Amended Complaint.

7. The Service informed Mr. McNulty it found no records responsive to the second category

   of his request (notes of correspondence between Curtiss Ross and the Service for tax

   years 2005 through 2018). ECF No. 11 at 12, Exhibit C to Pl.’s Amended Complaint.

8. The Service located 607 pages responsive to Mr. McNulty’s first request (notes of

   correspondence between Michael C. McNulty, William B. McNulty Jr., and James

   Malone for tax years 2005 through 2018) and Mr. McNulty’s third request (all notes of

   correspondence having anything to do with William B. McNulty for the tax years 2005

   through 2018). ECF No. 11 at 12, Exhibit C to Pl.’s Amended Complaint.




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9. Of the 607 records the Service located, the Service withheld from disclosure six pages in

   part and one page in full asserting FOIA Exemptions pursuant to 5 U.S.C. § 552(b)(3)

   (FOIA Exemption 3) and 5 U.S.C. § 552(b)(5) (FOIA Exemption 5). ECF No. 11 at 12,

   Exhibit C to Pl.’s Amended Complaint.

10. With its response, the Service also notified Mr. McNulty of his appeal rights, specifically:

           You have the right to file an administrative appeal within 90 days of the
           date of this letter. By filing an appeal, you preserve your rights under FOIA
           and give the agency a chance to review and reconsider your request and the
           agency’s decision. I’ve enclosed Notice 393, Information on an IRS
           Determination to Withhold Records Exempt from the Freedom of
           Information Act – 5 U.S.C. § 552, to explain your appeal rights.

   ECF No. 11 at 13, Exhibit C to Pl.’s Amended Complaint.

11. Mr. McNulty received this response and the Notice 393, as evidenced by Mr. McNulty

   attaching them as exhibits to his amended complaint. ECF No. 11 at 12–15, Exhibit C to

   Pl.’s Amended Complaint.

12. Mr. McNulty’s filings contain no evidence that he submitted a FOIA Appeal with the

   Service before filing this suit. ECF No. 11, Pl.’s Amended Complaint.

13. The Services uses a database called Automated Freedom of Information Act (AFOIA)

   System to maintain FOIA case file information and secure documents responsive to

   FOIA requests. Bley Decl. at ¶ 11.

14. The AFOIA system is searchable by the requester’s name, case number, case name, and

   taxpayer identification number. Bley Decl. at ¶ 11.

15. The Government Information Specialist in the Service’s Disclosure Office, Denise

   Higley, searched the AFOIA system and found no FOIA Appeal submitted by Mr.

   McNulty. Bley Decl. at ¶ 12–13.




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   16. The Service uses a database called Appeals Centralized Database System (ACDS) to

       capture all information relating to an appeal of a FOIA determination made by the

       Service. Bley Decl. at ¶ 14.

   17. The ACDS database is searchable by the requestor’s name, case number, case name, and

       taxpayer identification number. Bley Decl. at ¶ 14.

   18. The Appeals Officer, who is a point of contact for the Service to inquire about FOIA

       appeals, Theresa Carillo, searched the ACDS database for all FOIA Appeals received by

       the Service and found it had not received any FOIA Appeals from Mr. McNulty. Bley

       Decl. at ¶ 12–13.

   19. The Service received no FOIA Appeal regarding Mr. McNulty’s February 27, 2019,

       FOIA Request (Case # F19059-0002) before Mr. McNulty filed this suit. Bley Decl. at

       ¶¶ 9–14.


Dated: February 21, 2020                           RICHARD E. ZUCKERMAN
                                                   Principal Deputy Assistant Attorney General

                                                   JOHN R. LAUSCH, JR.
                                                   United States Attorney

                                                   /s/ Emily K. Miller
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of February, 2020, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will send

notification to all parties registered to receive such filing. Additionally, I hereby certify that on

the same date I have e-mailed and mailed the document by United States Postal Service to the

following non-CM/ECF participants:


       Michael McNulty
       657 W. Fulton Street, Unit 601
       Chicago, Illinois 60661
       MichaelCMcNulty@sbcglobal.net


                                               /s/ Emily K. Miller
                                               EMILY K. MILLER
                                               Trial Attorney
                                               United States Department of Justice, Tax Division




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